                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
                                                     271 Cadman Plaza East
                                                     Brooklyn, New York 11201

                                                     June 16, 2023
By ECF
Honorable Nina R. Morrison
United States District Judge
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Rare Breed Triggers, LLC, et al.,
                       No. 23-cv-369 (Morrison, J.) (Levy, M.J.)

Dear Judge Morrison:

        As the Court will recall, Defendants’ prior counsel in this matter withdrew. At the same
time, discovery was ongoing. To avoid undue delay with respect to that discovery but at the same
time to allow Defendants to preserve potential objections to that discovery, the United States,
pursuant to court order, set up a “firewall” so that third parties who responded to subpoenas during
the time that Defendants were changing their counsel would provide responsive material to an
Assistant U.S. Attorney – Phillip DePaul – who is not part of the trial team for this matter. See
Minute Entry and Order of May 5, 2023; Dkt. 54; Order of May 7, 2023.

      Defendants have new counsel. Pursuant to the scheduling order, on June 9, 2023.
Defendants filed a motion to quash and a motion to modify the protective order. See Dkt. 62, 63.
Those motions concern subpoenas the United States served on Chase Paymentech, Rick Vasquez,
and UPS. Defendants have not raised objections concerning any other subpoena.

       The United States therefore requests that the Court partially vacate the Order of May 7,
2023, to allow Mr. DePaul to release any material that he possesses, pursuant to that Order, other
than material from Chase Paymentech, Rick Vasquez, or UPS.

        The undersigned has consulted with Defendants’ counsel, who advise that they consent to
this request.
      The United States thanks the Court for its consideration of this matter.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:         /s/ Michael S. Blume
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cc:   BY ECF
      All Counsel of Record




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